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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA

V. Criminal No. 3:21-CR-0137-B

JENNIFER LYNNE FAITH
PLEA AGREEMENT
Jennifer Lynne Faith, the defendant, Toby Shook and Cody Skipper, the
defendant’s attorneys, and the United States of America (the government), agree as
follows:
\ i, Rights of the defendant: Faith understands that she has the rights:
a. to plead not guilty;
b. to have a trial by jury;
G. to have her guilt proven beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call witnesses
in her defense; and

e. against compelled self-incrimination.
K Zs Waiver of rights and plea of guilty: Faith waives these rights and
pleads guilty to the offense alleged in Count One of the superseding indictment

returned September 29, 2021 charging her with violating 18 U.S.C. § 1958, that is

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Use of Interstate Commerce Facilities in the Commission of Murder-For-Hire.
Faith understands the nature and elements of the crime to which she is pleading
guilty and agrees that the factual resume she has signed is true and will be
submitted as evidence.

Ke Sentence: The maximum penalties the Court can impose for a
conviction under Count One includes:

a. imprisonment for a period of life or the death penalty;

b. a fine not to exceed $250,000,

C, a term of supervised release of not more than five years will
follow any term of imprisonment. If the defendant violates the
conditions of supervised release, the defendant could be
imprisoned for the entire term of supervised release;

d. a mandatory special assessment of $100;

&, restitution to victims or to the community, which is mandatory
under the law, and which the defendant agrees may include
restitution arising from all relevant conduct, not limited to that

arising from the offense of conviction alone; and

f. costs of incarceration and supervision.

\ 4.  Court’s Sentencing Discretion and Role of the Guidelines: Faith
understands that the sentence in this case will be imposed by the Court after
consideration of the United States Sentencing Guidelines. The guidelines are not

binding on the Court but are advisory only. Faith has reviewed the guidelines with

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her attorney but understands no one can predict with certainty the outcome of the
Court’s consideration of the guidelines in this case. Faith understands that she will
not be allowed to withdraw her plea if the applicable advisory guideline range is
higher than expected, or if the Court departs from the applicable advisory guideline
range. Faith will not be allowed to withdraw her plea if her sentence is higher than
expected. Faith fully understands that the actual sentence imposed (so long as it is
within the statutory maximum) is solely left to the discretion of the Court.

\ 5. Conditional Nature of the Plea Agreement: Faith understands, and
it is agreed to by the parties that this plea agreement is conditioned upon the
approval of the Attorney General of the United States. Absent such approval, this
agreement is null and void. The parties understand that the signature of the United
States Attorney on this agreement does not constitute a recommendation to the
Attorney General of the United States that the agreement should be approved. The
parties further agree that if the Attorney General does not approve this agreement,
it is not admissible at trial for any purpose, in either guilt/innocence or penalty
phases, including as evidence that the United States Attorney’s Office supported a
plea agreement in this case.

\ 6. Mandatory special assessment: Faith agrees to pay to the U.S.

District Clerk the amount of $100.00, in satisfaction of the mandatory special

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assessment in this case.

i 7.  Defendant’s Agreement: Faith shall give complete and truthful
information and/or testimony concerning her participation in the offense of
conviction. Upon demand, Faith shall submit a personal financial statement under
vat and submit to interviews by the Government and the U.S. Probation Office
regarding her capacity to satisfy any fines or restitution. Faith expressly authorizes
the United States Attorney’s Office to immediately obtain a credit report on her in
order to evaluate her ability to satisfy any financial obligation imposed by the
Court. Faith fully understands that any financial obligation imposed by the court,
including a restitution order and/or the implementation of a fine, is due and
payable immediately. In the event the Court imposes a schedule for payment of
restitution, Faith agrees that such a schedule represents a minimum payment
obligation and does not preclude the U.S. Attorney’s Office from pursuing any
other means by which to satisfy Faith’s full and immediately enforceable financial
obligation. Faith understands that she has a continuing obligation to pay in full as
soon as possible any financial obligation imposed by the court.

Y 8. Government’s Agreement: The Government will not bring any
additional charges against Faith based upon the conduct underlying and related to

Faith’s plea of guilty. The government agrees to dismiss the original indictment

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and Count Two of the superseding indictment that are currently pending at
sentencing. The government further agrees to recommend a sentence of Life in
prison following Faith’s guilty plea to Count One of the superseding indictment.
As referenced in paragraph 5 of this agreement, the government’s recommendation
to the Court is conditioned upon the approval of the Attorney General of the
United States. The Government will file a Supplement in this case, as is routinely
done in every case, even though there may or may not be any additional terms.
This agreement is limited to the United States Attorney’s Office for the Northern
District of Texas and does not bind any other federal, state, or local prosecuting
authorities, nor does it prohibit any civil or administrative proceeding against Faith
or any property.

x . Violation of Agreement: Faith understands that if she violates any
provision of this agreement, or if her guilty plea is vacated or withdrawn, the
Government will be free from any obligations of the agreement and free to
prosecute Faith for all offenses of which it has knowledge. In such event, Faith
waives any objections based upon delay in prosecution. If the plea is vacated or
withdrawn for any reason other than a finding that it was involuntary, Faith also
waives objection to the use against her of any information or statements she has

provided to the government, and any resulting leads.

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V 10. Voluntary Plea: This plea of guilty is freely and voluntarily made
and is not the result of force or threats, or of promises apart from those set forth in
this plea agreement. There have been no guarantees or promises from anyone as to
what sentence the Court will impose.

\ 11. Waiver of Right to Appeal or Otherwise Challenge Sentence:
Faith waives her rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to
appeal from her conviction and sentence. Faith further waives her right to contest
her conviction and sentence in any collateral proceeding, including proceedings
under 28 U.S.C. § 2241 and 28 U.S.C. § 2255. Faith reserves the rights (a) to bring
a direct appeal (i) of a sentence exceeding the statutory maximum punishment, or
(ii) an arithmetic error at sentencing, (b) to challenge the voluntariness of her plea
of guilty or this waiver, and (c) to bring a claim of ineffective assistance of
counsel.

\ 12. Representation of Counsel: Faith has thoroughly reviewed all legal
and factual aspects of this case with her lawyers and is fully satisfied with that
lawyer’s legal representation. Faith is electing to plead guilty because she is guilty
of the offense alleged in Count One of the superseding indictment. Faith has
received from her lawyer’s explanations satisfactory to her concerning each

paragraph of this plea agreement, each of her rights affected by this agreement, and _

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the alternatives available to her other than entering into this agreement. Because
she concedes that she is guilty of Count One of the superseding indictment, and
after conferring with her lawyers, Faith has concluded that it is in her best interest
to enter into this plea agreement and all its terms, rather than to proceed to trial in
this case.

\ 13. Entirety of Agreement: This document is a complete statement of

the parties’ agreement and may not be modified unless the modification is in

writing and signed by all parties.

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Agreed to and signed this U day of October 2021.

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NNI R LYNNE/FAITH
DEFENDANT

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CHAD E. MEACHAM
ACT EDS ATTORNEY

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RICK CALVERT

Assistant United States Attorney
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ATTORNEY FOR THE DEFENDANT
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I have read (or had read to me) this Plea Agreement and have carefully
reviewed every part of it with my attorney. I fully understand it and voluntarily
agree to it.

/o/aalace
Date

 

Defendant

I am the Defendant’s counsel. I have carefully reviewed every part of this
Plea Agreement with the defendant. To my knowledge and belief, my client’s
decision to gnfer into this Plea Agreement is an informed and voluntary one.

/b6/22/2oe/

TOBY SHOOK Date
Attorney for Defendant

 

 

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